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                   EXHIBIT B
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                                           INDEX IN SUPPORT OF MOTION TO SEAL
                                     JANSSEN MARKET RESEARCH (ECF NOS. 330, 331, & 357)

                                                   Basis for Sealing      Clearly Defined        Why a Less
                                                                                                                     Prior
                                                     (Legitimate           and Serious           Restrictive
                                                                                                                     Order   Party in
                                                   Private or Public        Injury that         Alternative to
         Material/Title of Document                                                                                 Sealing Opposition
                                                    Interests That        Would Result if         the Relief
                                                                                                                   the Same to Sealing
                                                     Warrant the           Relief Is Not        Sought Is Not
                                                                                                                   Materials
                                                        Relief)              Granted              Available

                                                   JJHCS requests the    If filed on the        JJHCS requests     None     None
Letter from E. Evans Wohlforth, Jr. Esq. to        redaction of          public docket,         the sealing of
  Hon. Wolfson regarding SaveOnSP’s                information and       these portions of      only the
    Motion to Compel Janssen Market                discussion in the     the May 21 letter      information
      Research [dated May 21, 2024]                May 21 letter that    would reveal           that will reveal
              (ECF No. 330)                        is not known to the   confidential           confidential
                                                   general public and    material relating to   information
Page 1     (“Market . . . need”), (“From . . .     which the parties     JJHCS’s sensitive      that is not
           drugs”)                                 agreed to keep        business               known to the
                                                   confidential.         information.           general public.
Page 2      (“a . . . proposal”), (“to . . .       JJHCS maintains                              No less
           programs”), (“CarePath . . .            that these            Disclosure of this     restrictive
           CarePath”), (“one . . .                 documents and         confidential and       alternative is
           experience”), (“marketing . . .         exhibits contain      proprietary            available or
           programs”), (“CarePath . . .            sensitive business    information to the     practicable.
           drugs”), (“Objective . . .              information.          public would cause
           program”), (“J&J . . . drugs”),                               irreparable harm to
           (“Immunology . . . research”)                                 JJHCS because it
                                                                         would place
Page 3     (“. . . brands”), (“. . . planning”),                         JJHCS at a
           (“includes . . . America”),                                   competitive
           (“appears . . . experience”),                                 disadvantage if its
           (“budgets . . . case”), (“J&J . . .                           competitors
           conditions”), (“pulling . . .
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                                                 Basis for Sealing        Clearly Defined    Why a Less
                                                                                                               Prior
                                                   (Legitimate             and Serious       Restrictive
                                                                                                               Order   Party in
                                                 Private or Public          Injury that     Alternative to
         Material/Title of Document                                                                           Sealing Opposition
                                                  Interests That          Would Result if     the Relief
                                                                                                             the Same to Sealing
                                                   Warrant the             Relief Is Not    Sought Is Not
                                                                                                             Materials
                                                      Relief)                Granted          Available

           administration”), (“Market . . .”),                           secured the
           (“utilizing . . . brochures”)                                 information.

Page 3,    (“Archbow . . . funds”),
note 1     (“Review . . . ”)

Page 4     (“email . . . changes”), (“Janssen
           . . . them”), (“Douglas . . .
           maximizers”), (“reactions . . .
           year”), (“J&J . . . programs”),
           (“Janssen . . . SaveOn”), (“Karen
           . . . year”), (“noted . . . dose”),
           (“Janssen . . . maximizers”)

Page 5      (“a . . . Programs”), (“by . . .
           solution”), (“explicitly . . .
           withMe”), (“citing . . .
           maximizers”), (“It . . . Deep-
           Dive”), (“This . . . programs”)

Page 7     (“patient . . . accumulators”),
           (“Janssen . . . expenses”),
           (“Janssen . . . confusion”),
           (“quoting . . . CarePath”),
           (“Janssen . . . confusing”)


                                                                     2
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                                               Basis for Sealing        Clearly Defined        Why a Less
                                                                                                                   Prior
                                                 (Legitimate             and Serious           Restrictive
                                                                                                                   Order   Party in
                                               Private or Public          Injury that         Alternative to
         Material/Title of Document                                                                               Sealing Opposition
                                                Interests That          Would Result if         the Relief
                                                                                                                 the Same to Sealing
                                                 Warrant the             Relief Is Not        Sought Is Not
                                                                                                                 Materials
                                                    Relief)                Granted              Available

Page 9     (“Janssen . . . programs”),
           (“Market . . . dose”), (“Janssen
           . . . research”), (“citing . . .
           Expectations”)

Page       (“attempts . . . document”)
10, note
7

Page 11    (“Janssen . . .”), (“Market . . .
           need”), (“Reviewed . . . ”),
           (“This . . . them”), (“J&J . . .
           drugs”), (“contemplating . . .
           affordability”), (“Janssen . . .
           patients”)

Exhibits   Sealing of confidential emails      JJHCS requests the      If filed on the        JJHCS requests     None     None
1-3, 5-    and attachments regarding           redaction of            public docket,         the sealing of
14, 18-    CarePath administration and/or      information in          these exhibits to      only the
22, 24,    business information and            certain exhibits to     the May 21 letter      information
27-33,     strategy                            the May 21 letter       would reveal           that will reveal
37                                             that is not known to    confidential           confidential
                                               the general public      material relating to   information




                                                                   3
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                                                     Basis for Sealing          Clearly Defined       Why a Less
                                                                                                                          Prior
                                                       (Legitimate               and Serious          Restrictive
                                                                                                                          Order   Party in
                                                     Private or Public            Injury that        Alternative to
         Material/Title of Document                                                                                      Sealing Opposition
                                                      Interests That            Would Result if        the Relief
                                                                                                                        the Same to Sealing
                                                       Warrant the               Relief Is Not       Sought Is Not
                                                                                                                        Materials
                                                          Relief)                  Granted             Available

Exhibit     Sealing of confidential financial        and which the             JJHCS’s sensitive     that is not
15          information                              parties agreed to         business              known to the
                                                     keep confidential.        information.          general public.
Exhibit     Sealing of contract with non-            JJHCS maintains                                 No less
17          party                                    that these                Disclosure of this    restrictive
                                                     documents and             confidential and      alternative is
Exhibit     Sealing of confidential notes            exhibits contain          proprietary           available or
23                                                   sensitive business        information to the    practicable.
                                                     information.              public would cause
Exhibits Redaction of discovery                                                irreparable harm to
25 & 34 responses regarding CarePath                                           JJHCS because it
         administration                                                        would place
                                                                               JJHCS at a
Exhibit     Redaction of discovery letter                                      competitive
36          regarding CarePath confidential                                    disadvantage if its
            information                                                        competitors
                                                                               secured the
                                                                               information.

                                                     JJHCS requests the        If filed on the       JJHCS requests     None     None
         2024.05.31 JJHCS Opposition                 redaction of              public docket,        the sealing of
                (ECF No. 357)                        information and           these portions of     only the
                                                     discussion in the         the May 31 letter     information
Page 5      (“previously . . . funds”), (“. . .      May 31 letter that        would reveal          that will reveal
            research”), (“opportunities . . .”),     is not known to the       confidential          confidential
            (“. . .”), (“changes . . . ”), (“. . .

                                                                           4
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                                                    Basis for Sealing         Clearly Defined        Why a Less
                                                                                                                        Prior
                                                      (Legitimate              and Serious           Restrictive
                                                                                                                        Order   Party in
                                                    Private or Public           Injury that         Alternative to
         Material/Title of Document                                                                                    Sealing Opposition
                                                     Interests That           Would Result if         the Relief
                                                                                                                      the Same to Sealing
                                                      Warrant the              Relief Is Not        Sought Is Not
                                                                                                                      Materials
                                                         Relief)                 Granted              Available

           enhancements”), (“and . . .              general public and       material relating to   information
           research”)                               which the parties        JJHCS’s sensitive      that is not
                                                    agreed to keep           business               known to the
Page 5,    (“budget . . .”)                         confidential.            information.           general public.
note 2                                              JJHCS maintains                                 No less
                                                    that these               Disclosure of this     restrictive
Page 6     (“. . . research”)                       documents and            confidential and       alternative is
                                                    exhibits contain         proprietary            available or
Page 7     (“patient . . . maximizers”), (“a        sensitive business       information to the     practicable.
           . . . programs”), (“. . .”), (“a . . .   information.             public would cause
           Research”), (“reactions . . .                                     irreparable harm to
           patient”), (“it . . . findings”)                                  JJHCS because it
                                                                             would place
Page 8     (“the . . . above”)                                               JJHCS at a
                                                                             competitive
Page       (“that . . . SaveOn”), (“patient                                  disadvantage if its
10, note   . . . generally”), (“the . . .                                    competitors
3          programs”)                                                        secured the
                                                                             information.
Page       (“passing . . . amount”), (“. . .
11, note   research”)
4




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                                              Basis for Sealing        Clearly Defined        Why a Less
                                                                                                                  Prior
                                                (Legitimate             and Serious           Restrictive
                                                                                                                  Order   Party in
                                              Private or Public          Injury that         Alternative to
      Material/Title of Document                                                                                 Sealing Opposition
                                               Interests That          Would Result if         the Relief
                                                                                                                the Same to Sealing
                                                Warrant the             Relief Is Not        Sought Is Not
                                                                                                                Materials
                                                   Relief)                Granted              Available

Exhibit   Sealing of slide presentation       JJHCS requests the      If filed on the        JJHCS requests     None     None
1         regarding confidential business     redaction of            public docket,         the sealing of
          information                         information in          these exhibits to      only the
                                              certain exhibits to     the May 31 letter      information
Exhibit   Redaction of letter regarding the   the May 31 letter       would reveal           that will reveal
2         CAP program                         that is not known to    confidential           confidential
                                              the general public      material relating to   information
                                              and which the           JJHCS’s sensitive      that is not
                                              parties agreed to       business               known to the
                                              keep confidential.      information.           general public.
                                              JJHCS maintains                                No less
                                              that these              Disclosure of this     restrictive
                                              documents and           confidential and       alternative is
                                              exhibits contain        proprietary            available or
                                              sensitive business      information to the     practicable.
                                              information.            public would cause
                                                                      irreparable harm to
                                                                      JJHCS because it
                                                                      would place
                                                                      JJHCS at a
                                                                      competitive
                                                                      disadvantage if its
                                                                      competitors
                                                                      secured the
                                                                      information.


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                                                   Basis for Sealing            Clearly Defined        Why a Less
                                                                                                                           Prior
                                                     (Legitimate                 and Serious           Restrictive
                                                                                                                           Order   Party in
                                                   Private or Public              Injury that         Alternative to
         Material/Title of Document                                                                                       Sealing Opposition
                                                    Interests That              Would Result if         the Relief
                                                                                                                         the Same to Sealing
                                                     Warrant the                 Relief Is Not        Sought Is Not
                                                                                                                         Materials
                                                        Relief)                    Granted              Available

                                                   JJHCS requests the          If filed on the        JJHCS requests     None     None
Letter from E. Evans Wohlforth, Jr. Esq. to        redaction of                public docket,         the sealing of
  Hon. Wolfson regarding SaveOnSP’s                information and             these portions of      only the
 Reply to J&J’s Opposition to Motion to            discussion in the           the June 7 letter      information
 Compel Janssen Market Research [dated             June 7 letter that is       would reveal           that will reveal
               June 7, 2024]                       not known to the            confidential           confidential
              (ECF No. 331)                        general public and          material relating to   information
                                                   which the parties           JJHCS’s sensitive      that is not
Page 3     (“J&J’s . . . T&Cs”), (“J&J . . .       agreed to keep              business               known to the
           program”)                               confidential.               information.           general public.
                                                   JJHCS maintains                                    No less
Page 3,    (“Meeting . . .”), (“ . . .             that these                  Disclosure of this     restrictive
note 1     research”), (“J&J . . . program”),      documents and               confidential and       alternative is
           (“universal . . . Programs”),           exhibits contain            proprietary            available or
           (“market . . . T&Cs”)                   sensitive business          information to the     practicable.
                                                   information.                public would cause
Page 3,    (“they . . . Reform”), (“as . . .                                   irreparable harm to
note 2     wide”), (“the . . . Programs”),                                     JJHCS because it
           (“J&J . . . benefit”)                                               would place
                                                                               JJHCS at a
Page 4,    (“showing . . .”), (“through . . .”),                               competitive
note 3     (“results . . . SaveOn”), (“chose                                   disadvantage if its
           . . . reasons”), (“anticipating . . .                               competitors
           negative”), (“expressing . . .
           patients”)


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                                               Basis for Sealing        Clearly Defined        Why a Less
                                                                                                                   Prior
                                                 (Legitimate             and Serious           Restrictive
                                                                                                                   Order   Party in
                                               Private or Public          Injury that         Alternative to
         Material/Title of Document                                                                               Sealing Opposition
                                                Interests That          Would Result if         the Relief
                                                                                                                 the Same to Sealing
                                                 Warrant the             Relief Is Not        Sought Is Not
                                                                                                                 Materials
                                                    Relief)                Granted              Available

Page 6     (“J&J . . . JCP”), (“McCool . . .                           secured the
           research”), (“This . . .                                    information.
           custodian”)

Page 7     (“Brand . . . insights”), (“. . .
           planning”), (“indicating . . .
           planning”)

Page 7,    Various redactions
note 5

Exhibit  Sealing of email and confidential JJHCS requests the          If filed on the        JJHCS requests     None     None
38       attachments regarding CAP         redaction of                public docket,         the sealing of
         program                           information in              these exhibits to      only the
                                           certain exhibits to         the June 7 letter      information
Exhibits Sealing of confidential benefits  the June 7 letter           would reveal           that will reveal
39 & 40 investigations                     that is not known to        confidential           confidential
                                           the general public          material relating to   information
Exhibit Sealing of email and attachments and which the                 JJHCS’s sensitive      that is not
41       regarding confidential business   parties agreed to           business               known to the
         information                       keep confidential.          information.           general public.
                                           JJHCS maintains                                    No less
                                           that these                  Disclosure of this     restrictive
                                           documents and               confidential and       alternative is
                                           exhibits contain            proprietary
                                           sensitive business          information to the

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                                             Basis for Sealing        Clearly Defined      Why a Less
                                                                                                             Prior
                                               (Legitimate             and Serious         Restrictive
                                                                                                             Order   Party in
                                             Private or Public          Injury that       Alternative to
      Material/Title of Document                                                                            Sealing Opposition
                                              Interests That          Would Result if       the Relief
                                                                                                           the Same to Sealing
                                               Warrant the             Relief Is Not      Sought Is Not
                                                                                                           Materials
                                                  Relief)                Granted            Available

                                             information.            public would cause available or
                                             Additionally,           irreparable harm to practicable.
                                             Exhibits 39 and 40      JJHCS because it
                                             contain confidential    would place
                                             health information.     JJHCS at a
                                                                     competitive
                                                                     disadvantage if its
                                                                     competitors
                                                                     secured the
                                                                     information.
                                                                     Additionally,
                                                                     disclosure of
                                                                     confidential health
                                                                     information would
                                                                     also improperly
                                                                     reveal confidential
                                                                     health information
                                                                     to the public.

Exhibit   Redaction of discovery letter
42        containing confidential business
          information




                                                                 9
